USCA Case #24-1018       Document #2047242          Filed: 02/29/2024    Page 1 of 6



                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

BRAINTREE ELECTRIC LIGHT             )
DEPARTMENT, CONCORD MUNICIPAL        )
LIGHT PLANT, GEORGETOWN              )                     Case No. 24-1018
MUNICIPAL LIGHT DEPARTMENT,          )
HINGHAM MUNICIPAL LIGHTING PLANT,    )
LITTLETON ELECTRIC LIGHT & WATER     )
DEPARTMENT, MIDDLEBOROUGH GAS &      )
ELECTRIC DEPARTMENT, MIDDLETON       )
ELECTRIC LIGHT DEPARTMENT,           )
NORWOOD LIGHT & BROADBAND            )
DEPARTMENT, PASCOAG UTILITY          )
DISTRICT, READING MUNICIPAL LIGHT    )
DEPARTMENT, TAUNTON MUNICIPAL        )
LIGHTING PLANT, WELLESLEY            )
MUNICIPAL LIGHT PLANT, AND           )
WESTFIELD GAS & ELECTRIC LIGHT       )
DEPARTMENT,                          )
                                     )
                        Petitioners, )
                                     )
               v.                    )
                                     )
FEDERAL ENERGY REGULATORY            )
COMMISSION,                          )
                                     )
                       Respondent. )

                JOINT AMENDED PETITION FOR REVIEW

      Pursuant to Section 313(b) of the Federal Power Act (16 U.S.C. § 825l(b))

and Rule 15(a) of the Federal Rules of Appellate Procedure, Braintree Electric Light

Department    (“Braintree”),   Concord    Municipal    Light   Plant    (“Concord”),

Georgetown Municipal Light Department (“Georgetown”), Hingham Municipal
USCA Case #24-1018       Document #2047242         Filed: 02/29/2024   Page 2 of 6



Lighting Plant (“Hingham”), Littleton Electric Light & Water Department

(“Littleton”), Middleborough Gas & Electric Department (“Middleborough”),

Middleton Electric Light Department (“Middleton”), Norwood Light & Broadband

Department (“Norwood”), Pascoag Utility District (“Pascoag”), Reading Municipal

Light Department (“Reading”), Taunton Municipal Lighting Plant (“Taunton”),

Wellesley Municipal Light Plant (“Wellesley”), and Westfield Gas & Electric Light

Department (“Westfield”) (collectively, the “Eastern New England Consumer-

Owned Systems”) jointly petition this Court for review of the following Order and

Notice of the Federal Energy Regulatory Commission (“Commission”):

   1.     Docket Nos. ER18-1639-000 and ER18-1639-024 – Constellation Mystic
          Power LLC, Order Addressing Arguments Raised on Rehearing and
          Setting Aside Prior Order, in Part, Granting Motion to Lodge and Denying
          Motion to Disclose, 185 FERC ¶ 61,016 (October 6, 2023) (“October 6
          Order”) (Exhibit A hereto);

   2.     Docket No. ER18-1639-026 – Constellation Mystic Power LLC, Notice of
          Denial of Rehearing by Operation of Law and Providing for Further
          Consideration, 185 FERC ¶ 62,120 (December 7, 2023) (“December 7
          Notice”) (Exhibit B hereto); and

   3.     Docket No. ER18-1639-026 – Constellation Mystic Power LLC, Order
          Addressing Arguments Raised on Rehearing, 186 FERC ¶ 61,103
          (February 15, 2024) (“February 15 Rehearing Order”) (Exhibit C hereto).

        Braintree, Concord, Georgetown, Hingham, Littleton, Middleborough,

Middleton, Norwood, Reading, Taunton, Wellesley, and Westfield are each

municipal lighting plants organized and existing under Massachusetts General Laws


                                       -2-
USCA Case #24-1018        Document #2047242           Filed: 02/29/2024     Page 3 of 6



ch. 164, §§ 34-69. They are each engaged in providing retail electric service within

their respective communities and, in some cases, adjacent communities. Pascoag is

a quasi-municipal district organized and existing under Rhode Island Gen. Laws ch.

45-58, engaged in providing inter alia retail electric service in the Village of Pascoag

and surrounding areas within the Town of Burrillville, Rhode Island. The Eastern

New England Consumer-Owned Systems are each load-serving market participants

and Regional Network Service transmission customers under the ISO New England,

Inc. (“ISO New England”) Tariff. As a result, they each have a Real-Time Load

Obligation as that term is defined in the ISO New England Tariff and are subject to

charges under the Cost of Service Agreement between Constellation Mystic Power,

LLC (“Mystic”) and ISO New England. ISO New England, Inc., 165 FERC ¶ 61,202

at P 53 (2018) (“We accept the ISO-NE proposal to allocate the out-of-market costs

of resources retained for fuel security to Real-Time Load Obligation”); Belmont

Mun. Lt. Dept. v. FERC, 38 F.4th 173, 185 (D.C. Cir. 2022) (“NECOS has established

an imminent injury-in-fact because it represents eighteen electrical utilities that will

be expected to pay ISO-NE’s designated rates under IEP. . . .”).

      Each of the foregoing Petitioners has been an active intervenor throughout the

proceedings before the Commission, including the sub-docket resulting in the

issuance of the Orders and Notice. Constellation Mystic Power, LLC v. FERC, 45

F.4th 1028, 1055-1056 (D.C. Cir. 2022); Constellation Mystic Power, LLC, 182

                                         -3-
USCA Case #24-1018      Document #2047242          Filed: 02/29/2024   Page 4 of 6



FERC ¶ 61,202 at P 13, order on reh’g, 185 FERC ¶ 61,016 (2023). The Petitioners

timely and jointly requested rehearing of the Commission’s October 6 Order. The

October 6 Order represents the Commission’s fourth about-face concerning the

scope of customer review of specific inputs to the formula rate setting the Annual

Fixed Revenue Requirement for the Mystic 8 and 9 Units during the annual true-up

process established under that Agreement. Constellation Mystic Power, LLC v.

FERC, 45 F.4th 1028, 1055-1056 (D.C. Cir. 2022) (discussing pre-review

Commission rulings on challenges to revenue credit calculations and tank congestion

charges); Constellation Mystic Power, LLC, 182 FERC ¶ 61,202 at PP 56-57, 61-62

(holding that calculation of revenue credits and tank management charges subject to

challenge in true-up process), order on reh’g, 185 FERC ¶ 61,016 at PP 38-46, 60-

64, and 87-100 (2023) (reversing prior rulings on scope of true-up process and

denying motion for additional disclosure of information concerning tank

management charges).

      The Commission’s decision to prevent customers from verifying the justness

and reasonableness of the charges imposed on them through the Cost of Service

Agreement is not supported by substantial evidence or reasoned decision making, as

required by the Federal Power Act (16 U.S.C. §§ 791a through 828c) and the

Administrative Procedure Act (5 U.S.C. §§ 701-706), and is otherwise contrary to

law. The October 6 Order also impermissibly delegates to ISO New England the

                                       -4-
USCA Case #24-1018        Document #2047242           Filed: 02/29/2024     Page 5 of 6



Commission’s statutory authority to determine the justness and reasonableness of

rates charged to customers of ISO New England, Inc. under the Mystic Cost of

Service Agreement. United States Telecom Ass’n v. FCC, 359 F.3d 554, 565 (D.C.

Cir. 2004); Nat’l Ass’n of Regulatory Util. Comm’rs v. FCC, 737 F.2d 1095, 1143

(D.C. Cir. 1984).

      Each of the foregoing Petitioners are customers to whose Real-Time Load

obligation the costs generated through the Cost of Service Agreement are billed. The

Petitioners will incur unjust and unreasonable costs due to the Commission’s

October 6 Order, the December 7 Notice, and the February 15 Rehearing Order for

which this Petition seeks this Court’s review, and are therefore aggrieved by those

Orders and the Notice. The Commission’s December 7 Notice acknowledges that

given “the absence of Commission action on a request for rehearing within 30 days

from the date it is filed, the request for rehearing may be deemed to have been

denied.”

                                  Relief Requested

      For the foregoing reasons, the Court should grant this amended petition for

review, vacate the October 6 Order, the December 7 Notice, and the February 15

Rehearing Order, and remand this proceeding to the Commission with instructions

to (1) restore customer investigation of, and challenges to, Mystic’s claims and

calculations as to rate credits for revenues from third-party sales of liquefied natural

                                         -5-
USCA Case #24-1018       Document #2047242           Filed: 02/29/2024   Page 6 of 6



gas and “tank congestion charges” under the Mystic Cost of Service Agreement, and

(2) reconsider and grant the Public Systems’ motion for additional disclosure of data

concerning tank congestion charges.

                                              Respectfully submitted,

                                               /s/ John P. Coyle
                                               ____________________________
                                              John P. Coyle (Cir. Bar No. 32182)
                                              Natalie M. Karas (Cir. Bar No. 53439)
                                              Duncan & Allen LLP
                                              Suite 700
                                              1730 Rhode Island Avenue, N.W.
                                              Washington, D.C. 20036-3115
                                              Telephone: (202) 289-8400
                                              Email: jpc@duncanallen.com

Dated at Washington, D.C.                     Counsel for the New
this 29th day of February 2024.               England Consumer-Owned Systems




                                        -6-
